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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                 :
                                       : Case No.: 17-10793-jkf
Janie Frost                            : Chapter 13
                                       : Judge Jean K. FitzSimon
                             Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                       :
Wells Fargo Bank, NA                   : Date and Time of Hearing
                              Movant, : Place of Hearing
       vs                              : December 6, 2017 at 09:30 a.m
                                       :
Janie Frost                            : U.S. Bankruptcy Court 900
                                       : Market Street, Courtroom #3
                                       : Philadelphia, PA, 19107
Trustee
                                       :
Frederick L. Reigle
                              Respondents.

    MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO PERMIT WELLS
      FARGO BANK, NA TO FORECLOSE ON 2609 SOUTH 11TH STREET,
                       PHILADELPHIA, PA 19148

        Wells Fargo Bank, NA (the "Creditor") moves this Court, under Bankruptcy Code §§

361, 362, 363, and other sections of Title 11 of the United States Code, and under Federal Rules

of Bankruptcy Procedure 4001 and 6007 for an order conditioning, modifying, or dissolving the

automatic stay imposed by Bankruptcy Code § 362 and avers as follows:

        1.     This is an action arising pursuant to a case under Title 11 of the United States

Code.

        2.     Creditor is a lending institution duly authorized to conduct business in the

Commonwealth of Pennsylvania.

        3.     Creditor is a party-in-interest in the above referenced Bankruptcy matter as it is a

secured creditor of the Debtor.

        4.     Janie Frost (''Debtor'') filed a voluntary petition for relief under Chapter 13 of the

Bankruptcy Code on February 3, 2017, ("Petition").


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       5.      Debtor is currently obligated to Wells Fargo Bank, NA , under the terms of a

certain Note, dated March 12, 2010, in the original principal amount of $185,576.00 executed by

Debtor (hereinafter "Note").

       6.      As security for repayment of the Note, Debtor executed a certain FHA Mortgage, dated

of even date and of even amount, currently in favor of Wells Fargo Bank, NA , with respect to

certain real property owned by the Debtor located at 2609 South 11th Street, Philadelphia, PA

19148 (hereinafter "Mortgaged Premises") and being recorded in Philadelphia County

Recordings Office at Instrument Number 52189289 on March 22, 2010 in the Office of the

Recorder of Deeds in and for Philadelphia County, Pennsylvania ("Mortgage").

       7.      Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The

promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly

or through an agent, has possession of the promissory note. Creditor is the original mortgagee or

beneficiary or the assignee of the mortgage or deed of trust.

       8.      Debtor has failed to make post-petition mortgage payments for the past 9 months,

as of November 3, 2017.

       9.      Due to said failure by Debtor to make payments when due, Creditor lacks

adequate protection of its security interest in the Mortgaged Premises.

       10.     The principal loan balance and the amount past due to Wells Fargo Bank, NA in

post-petition arrearages are $180,201.80 and $12,600.45, respectively, as of November 3, 2017.

       11.     The automatic stay of Section 362 of the Bankruptcy Code should be terminated

with respect to the interest of Wells Fargo Bank, NA in the Mortgaged Premises, pursuant to

Section 362(d)(1).




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       WHEREFORE, Wells Fargo Bank, NA respectfully requests this Honorable Court to

enter an order terminating the Automatic Stay as it affects the interest of Wells Fargo Bank, NA

in the Mortgaged Premises of the Debtor specifically identified in the Mortgage, and granting

such other relief as this Honorable Court may deem just.

                                                    Respectfully submitted,

                                                     /s/ Adam B. Hall
                                                    Karina Velter, Esquire (94781)
                                                    Kimberly A. Bonner (89705)
                                                    Adam B. Hall (323867)
                                                    Sarah E. Barngrover (323972)
                                                    Manley Deas Kochalski LLC
                                                    P.O. Box 165028
                                                    Columbus, OH 43216-5028
                                                    Telephone: 614-220-5611
                                                    Fax: 614-627-8181
                                                    Attorneys for Creditor
                                                    The case attorney for this file is Karina
                                                    Velter.
                                                    Contact email is kvelter@manleydeas.com




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       vs                              : December 6, 2017 at 09:30 a.m
                                       :
Janie Frost                            : U.S. Bankruptcy Court
                                       : 900 Market Street, Courtroom #3
                                       : Philadelphia, PA, 19107
Trustee
                                       :
Frederick L. Reigle
                             Respondents.

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay to permit Wells Fargo Bank, NA to foreclose on 2609 South 11th Street,

Philadelphia, PA 19148 was served on the parties listed below via e-mail notification:

  United States Trustee, Office of the U.S. Trustee, 833 Chestnut Street, Suite 500,
  Philadelphia, PA 19107

  Frederick L. Reigle, Chapter 13 Trustee, Chapter 13 Trustee, 2901 St. Lawrence Avenue,
  P.O. Box 4010, Reading, PA 19606

  Brad J. Sadek, Attorney for Janie Frost, Sadek and Cooper, 1315 Walnut Street, Suite 502,
  Philadelphia, PA 19107, brad@sadeklaw.com

                                                                                         9
The below listed parties were served via regular U.S. Mail, postage prepaid, on November ___,
2017:

  Janie Frost, 2609 S. 11 Street, Philadelphia, PA 19148

  Janie Frost, 2609 South 11th Street, Philadelphia, PA 19148


        11/09/2017
DATE: ______________________



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                                            Kimberly A. Bonner (89705)
                                            Adam B. Hall (323867)
                                            Sarah E. Barngrover (323972)
                                            Manley Deas Kochalski LLC
                                            P.O. Box 165028
                                            Columbus, OH 43216-5028
                                            Telephone: 614-220-5611
                                            Fax: 614-627-8181
                                            Attorneys for Creditor
                                            The case attorney for this file is Karina
                                            Velter.
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